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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


JAMES FIELD RUDWALL,                       )
                                           )
                     Plaintiff,            )
                                           )
       vs.                                 )             Case No. 24 C 7627
                                           )
UBS FINANCIAL SERVICES INC.,               )
                                           )
                     Defendant.            )


                        MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       This case concerns an arbitration proceeding between UBS Financial Services

Inc. (UBS), which prevailed in the arbitration, and James Field Rudwall. Rudwall filed in

state court a petition to vacate the arbitration award, alleging that "there was evident

partiality by an arbitrator" and that "the arbitrators exceeded their powers." 710 Ill.

Comp. Stat. 5/12(a)(2)-(3); 9 U.S.C. § 10(2), (4). UBS removed the case from state

court based on diversity jurisdiction and then cross-petitioned to confirm the arbitration

award in its favor. For the reasons outlined below, the Court denies Rudwall's motion to

vacate and grants UBS's petition to confirm the arbitration award.

                                       Background

       Rudwall worked as a financial advisor at UBS from 2008 to 2016. As of the date

of his resignation, Rudwall owed UBS an outstanding principal balance of $476,536.08

plus $142,900.70 in interest on five separate promissory notes he signed during his

employment with UBS. The notes contained express arbitration clauses requiring any



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disputes between the parties to be submitted to arbitration under the rules of the

Financial Industry Regulatory Authority (FINRA).

       In 2020, Rudwall filed a statement of claim in FINRA's arbitration forum, alleging

that UBS included defamatory statements on his employment termination form, known

in the industry as a Form U-5, and that it engaged in interference with respect to an

offer Rudwall had received from a competing firm. In response, UBS counterclaimed,

alleging that Rudwall had breached the five promissory notes on his loans from UBS

and had been unjustly enriched.

       In their arbitration agreement, the parties agreed that arbitration would proceed

under the rules of the FINRA Code of Arbitration Procedure. The arbitration panel

initially consisted of three arbitrators: Susan L. Walker, Gregory G. Gocek, and Michael

Steinberg. Each arbitrator had previously submitted a disclosure report. These reports

list an arbitrator's past employment history, publicly available awards in prior arbitrations

in which they served, and other required information.

       To ensure fair hearings with a diverse set of arbitrators, FINRA categorizes

arbitrators into public and non-public arbitrators. Non-public arbitrators are those who

have connections to the securities industry in the manner defined by FINRA Rule

13100(x). Public arbitrators have no such connection. For a given three-arbitrator

proceeding, the parties identify preferences from a list of eligible public and non-public

arbitrators, and FINRA typically chooses two public arbitrators, one of whom serves as

chair, and one non-public arbitrator. FINRA Rules 13402(b), 12403(e).

       In this case, Rudwall and UBS received a list of potential public and non-public

arbitrators to choose from, including Gocek, Steinberg, and Walker. Based on FINRA



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Rule 13100(x) and their disclosure reports, Arbitrators Gocek and Walker were

classified as public arbitrators, and Arbitrator Steinberg was classified as a non-public

arbitrator. After each party submitted its respective rankings, FINRA used its own

algorithm to determine the three arbitrators who would hear the case. Given Arbitrator

Walker's prior experience and designation as a public arbitrator, she served as the

panel's chair.

       After hearing two days of argument in the fall of 2023, Arbitrator Steinberg

withdrew due to health issues. Rudwall and UBS both agreed to proceed without a

replacement arbitrator, resulting in a two-person panel.

       On June 6, 2024, the arbitration panel issued an award denying Rudwall's claims

in their entirety and sustaining UBS's counterclaim, awarding UBS $476,536.08 for

compensatory damages—the loan balances—and $142,900.70 for interest as of May

13, 2024. In July 2024, Rudwall filed a motion to vacate the award in the Circuit Court

of Cook County. UBS timely removed the action to federal court based on diversity

jurisdiction. 28 U.S.C. §§ 1332(a), 1441, 1446.

                                         Discussion

A.     Rudwall's motion to vacate

       It is unusual for a court to vacate an arbitration award. See Hasbro, Inc. v.

Catalyst USA, Inc., 367 F.3d 689, 691 (7th Cir. 2004) ("Generally, a court will set aside

an arbitration award only in very unusual circumstances.") (internal quotation marks and

citations omitted); Baravati v. Josephthal, Lyon & Ross, Inc., 28 F.3d 704, 706 (7th Cir.

1994) ("Judicial review of arbitration awards is tightly limited; perhaps it ought not be

called 'review' at all."). Under the governing Illinois statute, 710 Ill. Comp. Stat. 5/12,



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and the Federal Arbitration Act, 9 U.S.C. § 10, a court may vacate an arbitration award

only on very limited grounds that are listed in the statutes.

       In this case, Rudwall seeks to vacate the award against him based on claims of

"evident partiality" and the "arbitrators exceed[ing] their powers." 710 Ill. Comp. Stat.

5/12(a)(2)-(3); 9 U.S.C. § 10(a)(2), (a)(4). Rudwall bases his contentions on three

points. First, he contends that Arbitrator Walker did not submit a disclosure that a

motion to vacate was pending in one of her other arbitration cases, titled Jason James

Smitka vs. Client One Securities LLC, Michael Charles Tuma, and Mark Ronald

Roberts. Second, Rudwall contends that Arbitrator Walker prevented Arbitrator Gocek

from completing important questioning during the arbitration hearing. Third, Rudwall

contends that Arbitrator Gocek was misclassified as a "public" arbitrator instead of a

"non-public" arbitrator. He argues that these alleged errors deprived him of his right to a

fair hearing. 710 Ill. Comp. Stat. 5/12; 9 U.S.C. § 10.

       To establish "evident partiality," Rudwall must show that the "arbitrator's bias is

'direct, definite and capable of demonstration rather than remote, uncertain, or

speculative.'" Harter v. Iowa Grain Co., 220 F.3d 544, 553 (7th Cir. 2000) (internal

quotation marks and citation omitted). To establish that an arbitrator exceeded his or

her powers, Rudwall bears a "heavy burden" to show that the arbitrator acted "outside

the scope of his contractually delegated authority"—issuing an award that 'simply

reflect[s] [his] own notions of [economic] justice' rather than 'draw[ing] its essence from

the contract.'" Oxford Health Plans LLC. v. Sutter, 569 U.S. 564, 569 (2013) (internal

quotation marks and citation omitted).

       For the reasons explained below, the Court finds that none of the three alleged



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instances of misconduct, even taken together, show that an arbitrator was biased or

acted outside the scope of his or her contractually delegated authority. Harter, 220 F.3d

at 553; Oxford Health Plans LLC, 569 U.S. at 569.

       1.     Arbitrator Walker's nondisclosure of Smitka

       Rudwall contends that Arbitrator Walker did not disclose that a motion to vacate

had been filed in Smitka, a case in which she had previously served as an arbitrator.

He argues that this indicates improper bias. But though Rudwall argues that under

FINRA guidelines, arbitrators hold a duty to disclose a motion to vacate, he leaves out a

crucial detail—the FINRA Dispute Resolution Services Arbitrator's Guide states that

arbitrators need to disclose only those motions to vacate that have been granted. See

Rudwall Ex. B at 21. The Smitka motion had been denied.

       The Court also notes that in her Arbitrator Disclosure Report, Arbitrator Walker

disclosed 51 publicly available awards, including the award in Smitka. Rudwall could

have discovered information about the case by researching it during the pendency of

the arbitration and could have made his argument then, rather than waiting to raise this

issue in a separate enforcement proceeding. By failing to do so, he has waived or

forfeited the point. See Ganton Techs., Inc. v. Int’l Union, United Auto., Aerospace &

Agric. Implement Workers of Am., U.A.W., Loc. 627, 358 F.3d 459, 462 (7th Cir. 2004)

("[P]arties must present. . . arguments to the arbitrator below in order to avoid waiver.")

(internal quotation marks and citation omitted).

       Finally, even if Arbitrator Walker had a duty to disclose the Smitka motion to

vacate and Rudwall has not forfeited the point, the arbitrator's nondisclosure of the

motion does not lead to a conclusion that she displayed evident partiality against



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Rudwall. As UBS points out, the facts of the Smitka case have little to do with the case

at hand. And this cuts against Rudwall's argument, because factual similarity is a

relevant consideration in showing evident partiality based on non-disclosure. See

Prudential Inv. Mgmt. Servs., LLC v. Schipper, No. 22 C 4497, 2024 WL 1254361, at *4

(N.D. Ill. Mar. 25, 2024) ("Based upon the current record, the cases are separate,

unrelated, and inapposite factually and legally."). The Smitka case concerned a

contractual dispute regarding commission fees to a medical business referral

agreement, and the motion to vacate involved an alleged miscalculation because of an

erroneous assumption about a financial quarter. In this case, the arbitration is between

an employer and employee and involves the employee's failure to pay off five

promissory notes, as well as allegations of defamation and interference with a contract.

       Rudwall has not attempted to explain how the Smitka case is relevant here or,

more importantly, how the nondisclosure of the motion to vacate establishes Arbitrator

Walker's bias. In other words, Rudwall has not shown that the nondisclosure of the

unsuccessful motion to vacate pending in the Smitka motion indicates a bias that was

"direct, definite, and capable of demonstration"; Rudwall is merely speculating, which is

insufficient to meet his burden. See Harter, 220 F.3d at 553. In fact, Rudwall basically

concedes that the effect of the omitted information is "remote, uncertain, [and]

speculative." See id. He states that he was denied the right to "even consider the

meaningful background information as part of his decision-making process in

select[ing]" whether to select Arbitrator Walker. See Mot. to Vacate at 6. But that is not

the standard for providing "evident partiality." Rudwall is required to establish that the

information's nondisclosure clearly demonstrated evident partiality on the part of



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Arbitrator Walker. He has failed to do so.

        2.      Arbitrator Walker's line of questioning during arbitration

        Next, Rudwall argues that Arbitrator Walker "shut down witness questioning by

her fellow arbitrator in an effort to aid UBS's defense." Pl.'s Reply to Def.'s Resp. to

Mot. to Vacate at 2. The transcript reflects that at one point during the proceedings,

Arbitrator Walker said to Arbitrator Steinberg, "I would just caution that you're starting to

raise issues that the parties may raise," to which Arbitrator Steinberg responded "I

understand that. I'm just -- let me see if I can phrase this a little differently. We'll let this

go. We'll pick it up later." Arbitrator Steinberg never revisited this line of questioning.

Rudwall contends that Arbitrator Walker deprived Arbitrator Steinberg of his right to

question witnesses and, in doing so, took on an overly broad role the chair of the panel.

It is unclear whether Rudwall argues that this interaction demonstrates Arbitrator

Walker's evident partiality, or that it reflects that she exceeded her powers, or both, so

the Court assumes Rudwall argues both grounds.

        First, as UBS points out, Rudwall did not raise this issue in his motion to vacate,

but only in his reply, so he has forfeited this argument. Campos v. Cook County, 932

F.3d 972, 976 n.2 (7th Cir. 2019) ("Parties waive arguments which they develop for the

first time in a reply brief.").

        But even if Rudwall has not forfeited the point, this episode during the hearing is

insufficient to demonstrate evident partiality or that Arbitrator Walker exceeded her

powers. Arbitrator Walker did not interrupt any other questioning by Arbitrator

Steinberg, who asked 19 questions during the proceedings. During the single exchange

that Rudwall identifies, Arbitrator Walker's point that Arbitrator Steinberg could be



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venturing into areas reserved to the parties was appropriate and reasonable. The

FINRA Dispute Resolution Services Guide states that "arbitrators should refrain from

questioning a witness until all parties have finished their examination." See Rudwall Ex.

B at 80. But Arbitrator Steinberg attempted to question the witness in the middle of

questioning by the attorney for UBS, and before Rudwall's attorney began any

questioning. See Rudwall Ex. A at 12-14. In short, Arbitrator Walker's comments

appropriately called Arbitrator Steinberg's attention to the proper order of proceedings

and the proper bounds of the arbitrators' roles. In short, Arbitrator Walker most certainly

did not exceed her power as chair of the proceedings.

       On the issue of "evident partiality," Rudwall has not explained how Arbitrator

Walker's comments—which, from Arbitrator Steinberg's own comments, did nothing

more than defer his opportunity to question until later, is indicative of a direct, definite,

and demonstrable interest in the outcome of the arbitration. Among other things,

Rudwall offers no explanation for why whatever the response to Arbitrator Steinberg's

question might have been was essential to a fair hearing. In sum, based on the record

before the Court, Arbitrator Walker's comment during Arbitrator Steinberg's questioning

does not reflect that she exceeded her powers or displayed partiality.

       3.     Arbitrator Gocek's classification as a public arbitrator

       As discussed earlier, FINRA classifies arbitrators as public and non-public

arbitrators. Non-public arbitrators are those who have significant connections to the

financial and security industries. Public arbitrators are all others. This categorization

process is aimed at ensuring that arbitration proceedings include arbitrators who have

expertise about industry-specific knowledge and also maintain fairness and impartiality



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by including arbitrators without such affiliations.

       Rudwall challenges the way Arbitrator Gocek was categorized. Specifically,

Rudwall argues that Arbitrator Gocek was misclassified as a public arbitrator because

his employment history suggests that he should have been classified as a non-public

arbitrator.

       Rudwall states that in his Arbitrator Disclosure Report, Arbitrator Gocek stated

that he has served as a chartered financial assistant (CFA), a board member at the CFA

Institute, which oversees the professional conduct of investment practitioners, and that

he "focuses on service industries (financial services) . . . as part of his continued

involvement with a management consulting firm he co-founded in 1991 wherein he

advises industry clients on mergers and acquisitions, capital raising, strategic planning,

and refinancing." Pl.'s Reply to Def.'s Resp. to Mot. to Vacate at 8. Rudwall argues that

this, in turn, requires determining whether Gocek meets FINRA's requirement that a

public arbitrator cannot have devoted 20 percent or more of his or her professional time,

annually for 15 years or more, serving in certain financial and security industries listed in

FINRA Rule 13100(x). Rudwall asks the Court to allow discovery on this issue so that

he can identify how much time Arbitrator Gocek has spent in each of his prior roles.

       The Arbitrator Disclosure Report asks questions that track the elements of FINRA

Rule 13100(x) and therefore allows categorizing arbitrators as public or non-public.

UBS argues that Arbitrator Gocek responded in the negative to each question in the

report that relates to FINRA Rule 13100(x)'s restrictions on public arbitrators, and that

as a result, he was qualified to serve as a public arbitrator. See Rudwall Ex. C. UBS

further argues that because Arbitrator Gocek has served in a variety of other industries,



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including retail, utilities, environmental service, and heath care, Rudwall is merely

cherry-picking Gocek's positions to raise doubt about his classification.

         The Court agrees that in his disclosure form, Arbitrator Gocek denied having

been involved in any of the industries that would require him to be classified as a non-

public arbitrator. Although the disclosure report did not require Arbitrator Gocek to

provide the amount of time he had spent in the industries referenced in question Rule

13100(x), that is immaterial, because Gocek did not state that he had been in any of

these industries in the first place. See Rudwall Ex. C.

         Arbitrator Gocek disclosed all the information in question during the arbitrator

selection process. If Rudwall had concerns with Arbitrator Gocek's background

information and employment history, he should have raised them at the time. In any

case, Rudwall's request for post-arbitration discovery would be appropriate only in a

case involving "clear impropriety," which the record does not reflect here. Midwest

Generation EME, LLC v. Continuum Chem. Corp., 768 F. Supp. 2d 939, 943 (N.D. Ill.

2010).

         Even if Arbitrator Gocek was misclassified, however, that would be insufficient to

vacate the arbitration award. "A 'trivial departure' from the parties' agreement [ . . . ]

may not bar enforcement of an award." R.J. O'Brien & Assocs., Inc. v. Pipkin, 64 F.3d

257, 263 (7th Cir. 1995). UBS cites to Konz v. Morgan Stanley Smith Barney, LLC as a

case that is persuasive and instructive. In that case, a party also moved to vacate an

arbitration award because an arbitrator was allegedly incorrectly classified as a public

arbitrator. The court confirmed the award because "the selection . . . .was arguably in

accordance with the parties' agreement . . . for 'arbitration in accordance with the rules


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of the Financial Industry Regulatory Authority'" and because "[e]ven if [the arbitrator]

was not qualified to serve a public arbitrator, his selection was a 'trivial departure' from

the parties' agreement that did not prejudice Konz because the panel's decision was

unanimous." Konz v. Morgan Stanley Smith Barney, LLC, No. 18 CIV. 5181 (GBD),

2018 WL 5818108, at *4 (S.D.N.Y. Oct. 17, 2018) (internal citation omitted).

        Rudwall argues that Konz is distinguishable because the court in that case

"heavily relied on the fact that the three arbitrator panel decision was unanimous in

arriving at a conclusion that FINRA arbitrator misclassification was a 'trivial departure.'"

Pl.'s Reply Br. at 9. That's not quite right. The court there concluded that the selection

process had followed the parties' agreement. It considered the panel's unanimity only

as a factor in deciding whether, if there had been a departure, it was prejudicial. These

are distinct inquiries.

        In this case, the parties likewise agreed to select arbitrators according to FINRA

guidelines. The public and non-public classifications were made according to these

guidelines. Rudwall has not explained how the FINRA guidelines were misapplied in a

way that amounted to more than a "trivial departure" from the parties' agreement, nor

has he provided an explanation for why such a misclassification would have given rise

to bias or prejudice in this particular case.

        In sum, Rudwall cannot sustain a claim that Arbitrator Gocek's misclassification

indicates that the arbitrators in question acted upon evident partiality or exceeded their

powers.

B.      UBS's petition to confirm

        In the absence of any viable objections to enforcing the arbitration award against



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Rudwall, the Court grants UBS's timely petition to confirm the award. See Hasbro, 367

F.3d at 691-92 (indicating that confirmation of an arbitration award is "routine"); 9 U.S.C.

§ 9 ("[W]ithin one year after the award is made any party to the arbitration may apply to

the court so specified for an order confirming the award, and thereupon the court must

grant such an order unless the award is vacated, modified, or corrected."); 710 Ill.

Comp. Stat. 5/12(d) ("If the application to vacate is denied and no motion to modify or

correct the award is pending, the court shall confirm the award.").

                                       Conclusion

       For the foregoing reasons, the Court denies Rudwall's motion to vacate the

arbitration award and grants UBS's petition to confirm the award [dkt. no. 9]. The

parties are to submit by February 7, 2025 a joint status report with proposed language

for entry of a judgment consistent with this decision.

Date: January 30, 2025

                                                 _______________________________
                                                      MATTHEW F. KENNELLY
                                                      United States District Judge




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